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                                     Exhibit D

              Schedule of Deficient Claims with Undeliverable Addresses
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                                                                 One Hundred and Second Omnibus Objection
                                                    Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   MATEO SANCHEZ , HECTOR L.                                                               6/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       51950          Undetermined*
    BO. PENUELAS #262
    PARCELAS NUEVAS
    SANTA ISABEL, PR 00757

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   MATOS ALVIRA, GLENDA LIZ                                                                6/28/2018      17 BK 03566-LTS Employees Retirement System of the                64972              $ 29,971.33
    HC-02 BUZON 17616                                                                                                      Government of the Commonwealth
    RIO GRANDE, PR 00745                                                                                                   of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
3   MATOS NIEVES, RAUL                                                                       6/5/2018      17 BK 03566-LTS Employees Retirement System of the                55948              $ 75,000.00
    COMDOMINUM VISTA REAL APT05                                                                                            Government of the Commonwealth
    ED. 10                                                                                                                 of Puerto Rico
    FAJARDO, PR 00738

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
4   MATOS RIVERA, LOURDES                                                                   5/25/2018      17 BK 03566-LTS Employees Retirement System of the                32158          Undetermined*
    PARCELAS JAGUAYO                                                                                                       Government of the Commonwealth
    VILLALBA, PR 00766                                                                                                     of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
5   MATTA GOMEZ, FRANCISCA                                                                   5/2/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       10084          Undetermined*
    URB COUNTRY CLUB
    PB 23 CALLE 266
    CAROLINA, PR 00982

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
6   MAVERO SANCHEZ, MIRIAM A.                                                               6/28/2018      17 BK 03566-LTS Employees Retirement System of the             104806                $ 33,000.00
    REPT. VALENIA5                                                                                                         Government of the Commonwealth
    BAYAMON, PR 00959-3718                                                                                                 of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 10
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                                                                  One Hundred and Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
7    MAYSONET HERNANDEZ, LOIDA                                                                6/8/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       78942          Undetermined*
     PO BOX 227
     SABANA SECA, PR 00952

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
8    MEDINA AYALA, CARLOS M.                                                                 5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       45803          Undetermined*
     R 15 A EFIGENIO COCO FERRER
     PONCE, PR 00728

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
9    MEDINA BADILLO, FELIX                                                                    6/4/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       60565          Undetermined*
     HC9 BOX 11736 BO. CAMASEYES
     AGUADILLA, PR 00603

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   MEDINA GARCIA, SONIA                                                                    5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       17805          Undetermined*
     PO BOX 605
     SAN ANTONIO, PR 00690

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
11   MEDINA MENDEZ, DARIO                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       73641          Undetermined*
     HC-03 BOX 29840
     AGUADA, PR 00602

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   MEDINA MIRANDA, ROSEANNE                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       66414          Undetermined*
     PO BOX 88
     AGUIRRE, PR 00704

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
13   MEDINA RAMOS, JAVIER                                                                    6/15/2018      17 BK 03566-LTS Employees Retirement System of the                66380              $ 50,000.00
     HC 10 BOX 8710                                                                                                         Government of the Commonwealth
     SABANA GRANDE, PR 00637                                                                                                of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 10
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                                                                  One Hundred and Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
14   MEDINA SANTOS, JOSE ANTONIO                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       64218          Undetermined*
     HC01 BOX 11718
     CAROLINA, PR 00987

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
15   MEDINA TORO, CLARA A                                                                    6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       69225          Undetermined*
     HC 08 P.O. BOX 132
     PONCE, PR 00731-9423

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
16   MEDINA TORO, CLARA A                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the                72060          Undetermined*
     HC 08 P.O. BOX 132                                                                                                     Government of the Commonwealth
     PONCE, PR 00731-9423                                                                                                   of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
17   MEJIAS COLON, ALEXIS R                                                                  6/25/2018      17 BK 03566-LTS Employees Retirement System of the                77563          Undetermined*
     URBANIZACION VALLE DE ANDALUCIA                                                                                        Government of the Commonwealth
     CALLE-CADIZ                                                                                                            of Puerto Rico
     PONCE, PR 00731

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
18   MELENDEZ ROMAN, CHRISTINE D.                                                            6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       68196          Undetermined*
     PO BOX 2994
     BAYAMON, PR 00959

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
19   MELENDEZ VAZQUEZ , NITZA                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the                82093          Undetermined*
     301 PARK HEVIA                                                                                                         Government of the Commonwealth
     CIDRA, PR 00739                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 10
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                                                                  One Hundred and Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
20   MELENDEZ VEGA, MODESTO                                                                  5/25/2018      17 BK 03566-LTS Employees Retirement System of the                34275          Undetermined*
     HC01 BOX 4314                                                                                                          Government of the Commonwealth
     ARROYO, PR 00714                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
21   MENDEZ CUEVAS, ELIAS                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the                64183             $ 70,000.00*
     HC/1 BOX 3919                                                                                                          Government of the Commonwealth
     LAS MARIAS, PR 00670                                                                                                   of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
22   MENDEZ MENDEZ, LYDIA G                                                                   7/3/2018      17 BK 03566-LTS Employees Retirement System of the             106507               $ 75,000.00*
     P.O. BOX 1748                                                                                                          Government of the Commonwealth
     MOCA, PR 00676                                                                                                         of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
23   MENDEZ MIRANDA , SONIA I.                                                               5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       31609          Undetermined*
     BOX 2151
     ANASCO, PR 00610

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   MENDEZ PENALOZA, SANTA                                                                  6/28/2018      17 BK 03566-LTS Employees Retirement System of the                71701              $ 72,920.16
     BOX 355                                                                                                                Government of the Commonwealth
     LOIZA, PR 00772                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
25   MENDOZA LISVETTE, ROMAN                                                                 6/22/2018      17 BK 03566-LTS Employees Retirement System of the                81986              $ 75,000.00
     RR-1 BOX 1742 BO. HATILLO                                                                                              Government of the Commonwealth
     ANASCO, PR 00610                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 10
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                                                                  One Hundred and Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
26   MERCADO COLON, ELSA                                                                     6/26/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       68116          Undetermined*
     HC-07 BZ. 32202
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
27   MERCADO CRUZ, HECTOR                                                                    6/15/2018      17 BK 03566-LTS Employees Retirement System of the                71515          Undetermined*
     PO BOX 454                                                                                                             Government of the Commonwealth
     BAJADERO                                                                                                               of Puerto Rico
     ARECIBO, PR 00616

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
28   MERCADO PRATTS , JOSE A.                                                                6/15/2018      17 BK 03566-LTS Employees Retirement System of the                70588          Undetermined*
     URB. LUMAR 1212 CARR. 103 KM12.7                                                                                       Government of the Commonwealth
     CABO ROJO, PR 00623                                                                                                    of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
29   MERCADO PRATTS, JOSE A                                                                  6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       78316          Undetermined*
     URB LUMAR 1212 CARR. 103 KM 12.7
     CABO ROJO, PR 00623

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   MERCADO PRATTS, JOSE A.                                                                 6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       73504          Undetermined*
     URB. LUMAR 1212 CARR 103 KM 12.7
     CABO ROJO, PR 00623

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
31   MERCADO ROSA, HOMAT                                                                     5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       32667          Undetermined*
     HC - 01 BOX 11,116
     SAN SEBASTIAN, PR 00685

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 10
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                                                                  One Hundred and Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
32   MILDRED OSORIO NIEVES                                                                   5/21/2018      17 BK 03566-LTS Employees Retirement System of the                28087            $ 100,000.00*
     HC 01 BOX 6814                                                                                                         Government of the Commonwealth
     LOIZA, PR 00772                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
33   MITJA GONZALEZ, ALEXIS                                                                  6/29/2018      17 BK 03566-LTS Employees Retirement System of the                70947              $ 61,718.54
     P.O BOX 923                                                                                                            Government of the Commonwealth
     CAGUAS, PR 00726                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
34   MOJICA BULTRAN, SONIA M                                                                 5/25/2018      17 BK 03566-LTS Employees Retirement System of the                30300             $ 164,991.06
     PO BOX 3024                                                                                                            Government of the Commonwealth
     BAYAMON, PR 00960                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
35   MONTALVO OLIVERA, RAMON LUIS                                                             6/4/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       77732          Undetermined*
     CONSEJO ALTO CERR 377
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
36   MONTERO VELEZ, IRONELIS                                                                  7/6/2018      17 BK 03566-LTS Employees Retirement System of the                91901          Undetermined*
     HC-04 BOX 54003                                                                                                        Government of the Commonwealth
     HATILLO, PR 00659                                                                                                      of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
37   MONTES ALVARADO, WILDALIS                                                               6/15/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       66415          Undetermined*
     PO BOX 425
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 6 of 10
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                                                                  One Hundred and Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
38   MONTES ALVARADO, WILDALIS                                                               6/15/2018      17 BK 03566-LTS Employees Retirement System of the                70167          Undetermined*
     PO BOX 425                                                                                                             Government of the Commonwealth
     VILLALBA, PR 00766                                                                                                     of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
39   MONTES RODRIGUEZ, ENRIQUE                                                               6/21/2018      17 BK 03566-LTS Employees Retirement System of the                84605              $ 75,000.00
     D-4 CALLE 16                                                                                                           Government of the Commonwealth
     COAMO, PR 00769                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
40   MONTIJO VILLALOBOS, MIRTA R                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       76775          Undetermined*
     P.O. BOX 1267
     MOROVIS, PR 00687

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
41   MORALES BAEZ, JOEL A                                                                    5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       36746          Undetermined*
     HC 09 BOX 59204
     CAGUAS, PR 00725

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
42   MORALES LOPEZ, MARIA DEL C                                                              5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       26046          Undetermined*
     URB. FAIRVIEW
     CALLE PERAFAN RIVERA 1939
     RIO PIEDRAS, PR 00924

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
43   MORALES LUGO, KATHERIN                                                                   6/4/2018      17 BK 03566-LTS Employees Retirement System of the                78597             $ 75,000.00*
     616 35 FF 16                                                                                                           Government of the Commonwealth
     URB SANTA JUANITA                                                                                                      of Puerto Rico
     BAYAMON, PR 00956

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 7 of 10
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                                                                  One Hundred and Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
44   MORALES MEDINA, JEANETTE                                                                5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       21945          Undetermined*
     PO BOX 123
     LOIZA, PR 00772

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
45   MORALES OLIVERAS, IXAIVIA                                                               5/23/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       30105          Undetermined*
     2705 AMANDA KAY WAY
     KISSIMMEE, FL 34744

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
46   MORALES RAMIREZ, MYRIAM M.                                                              6/28/2018      17 BK 03566-LTS Employees Retirement System of the                73712             $ 40,000.00*
     URB. GUAYANES #17                                                                                                      Government of the Commonwealth
     CALLE GILBERTO CONCEPCION DE GRACIA                                                                                    of Puerto Rico
     PENUELAS, PR 00624

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
47   MORALES RODRIGUEZ, RODOLFO                                                              5/21/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       46490              $ 13,200.00
     CARR. 124 KM 3.4
     LAS MARIAS, PR 00670

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
48   MORALES RODRIGUEZ, WILMA L                                                              5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       24137          Undetermined*
     PO BOX 324
     AGUADA, PR 00602

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
49   MORALES TORRES, ANGEL                                                                   5/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       39949          Undetermined*
     URB. SAGRADO CORAZON CALLE ALEGRIA
     B-27
     PANUELOS, PR 00624

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 8 of 10
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                                                                  One Hundred and Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
50   MORAN MALAVE, ABIMAEL                                                                   6/29/2018      17 BK 03566-LTS Employees Retirement System of the                79476              $ 30,000.00
     URB. CEIBA NORTE #344 CALLE                                                                                            Government of the Commonwealth
     JUNCOS, PR 07777                                                                                                       of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
51   MORENO ROSADO, MARICELY                                                                 5/25/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       30255          Undetermined*
     HC 5 BOX 7269
     GUAYNABO, PR 00971

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
52   MUNDO FELICIANO, JULIO C                                                                 6/4/2018      17 BK 03566-LTS Employees Retirement System of the                47611             $ 75,000.00*
     CALLE TAGORE APT 413                                                                                                   Government of the Commonwealth
     CONDOMINIOS PARTES DE CUPEY                                                                                            of Puerto Rico
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
53   MUNIZ NAVARRO, DAVID                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the             110124                $ 35,527.09
     PARCELAS FALU                                                                                                          Government of the Commonwealth
     220-A CALLE 43                                                                                                         of Puerto Rico
     SAN JUAN, PR 00924

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
54   MUNOZ CORREA, EVA I                                                                     6/22/2018      17 BK 03566-LTS Employees Retirement System of the                85876             $ 35,585.01*
     HC 645 BOX 6569                                                                                                        Government of the Commonwealth
     TRUJILO ALTO, PR 00976                                                                                                 of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
55   MUNOZ MULLER, ERNESTO A                                                                 5/18/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                       20868          Undetermined*
     RR1 BOX 3391
     CIDVA, PR 00739

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 9 of 10
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                                                                  One Hundred and Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
56   MUNOZ ROMAN, CARMEN L                                                                   6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    101228                     $ 25.00
     PO BOX 7105 PMB 110
     PONCE, PR 00732

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
57   MUNOZ UBINAS, EDWARD                                                                    6/11/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                    62968             Undetermined*
     1424 CALLE SOL
     SAN ANTONIO, PR 00690

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
58   MUNOZ UBINAS, EDWARD                                                                    6/11/2018      17 BK 03566-LTS Employees Retirement System of the             61262                 $ 54,675.15
     1424 CALLE SOL                                                                                                         Government of the Commonwealth
     SAN ANTONIO, PR 00690                                                                                                  of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
59   N. MERCADO COSME, VICTOR                                                                6/29/2018      17 BK 03566-LTS Employees Retirement System of the             80064                 $ 27,500.00
     ESTANCIAS DEL RIO 19                                                                                                   Government of the Commonwealth
     CALLE RIO CANAS                                                                                                        of Puerto Rico
     JUANA DIAZ, PR 00795-9224

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
60   NAVEDO ORTIZ, GRISSELLE                                                                 11/6/2017      17 BK 03283-LTS Commonwealth of Puerto Rico                        275              $ 100,000.00
     HC-01 BOX 9557
     TOA BAJA, PR 00951

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
61   NEGRON CANCEL, ROGELIA                                                                  3/20/2018      17 BK 03566-LTS Employees Retirement System of the              5010                  $ 1,000.00
     URB VILLAS DEL SENORIAL                                                                                                Government of the Commonwealth
     C3 VILLA 10                                                                                                            of Puerto Rico
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                  $ 1,370,113.34*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 10 of 10
